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07                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
08                                    AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )
                                          )            Case No. 06-66M
11         v.                             )
                                          )
12   DANIEL WILLIAM SHREVE,               )            DETENTION ORDER
                                          )
13               Defendant.               )
     ____________________________________ )
14

15 Offenses charged:

16          Count 1: Arson in violation of 18 U.S.C. § 2 and 844(l).

17 Date of Detention Hearing:     February 21, 2006.

18         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f),

20 finds that there appear to be no conditions or combination of conditions other than detention

21 that will reasonably address the risk of flight or danger to the community, based on the

22 following:

23          (1)    Defendant is facing a significant penalty on the charge which involves a

24 serious offense.

25          (2)    Little information regarding defendant’s ties to the Western District of

26 Washington or to this community has been provided to the Court.

     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01          (3)    Defendant has stipulated to detention, reserving the right to contest his

02 continued detention if there is a change in circumstances.

03          IT IS THEREFORE ORDERED:

04          (1)    Defendant shall be detained pending trial and committed to the custody of the

05                 Attorney General for confinement in a correction facility separate, to the

06                 extent practicable, from persons awaiting or serving sentences or being held in

07                 custody pending appeal;

08          (2)    Defendant shall be afforded reasonable opportunity for private consultation

09                 with counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11                 government, the person in charge of the corrections facility in which

12                 defendant is confined shall deliver the defendant to a United States Marshal

13                 for the purpose of an appearance in connection with a court proceeding; and

14          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

15                 counsel for the defendant, to the United States Marshal, and to the United

16                 States Pretrial Services Officer.



                                                         A
17                 DATED this 22nd day of February, 2006.

18
                                                         JAMES P. DONOHUE
19                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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